                               IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF OREGON

                                        EUGENE DIVISION



SHARON NETTLETON,                                                           6:18- cv-00385-JR
                                                                       OPINION AND ORDER
                  Plaintiff,
        v.
ALTA J. BRADY, Judge; ROGER DEHOOG,
Judge; A. MICHEAL ADLER, Judge; BETH M.
BAGLEY, Judge; STEPHEN P. FORTE, Judge;
WALTER RANDOLPH MILLER, Judge; and
DESCHUTES COUNTY CIRCUIT COURT,

                  Defendants.


AIKEN, Judge.

        Plaintiff Sharon K. Nettleton challenges the foreclosure of real property located at 60076

Turquoise Road in Bend, Oregon. The Deschutes County Circuit Court's entered a general

judgment of foreclosure with an effective date of October 8, 2014. 1 The Oregon Court of

Appeals affomed the foreclosure judgment and the Oregon Supreme Comt denied review. A

sheriffs sale is scheduled for March 28, 2018.




        1
             The operative foreclosure judgment is a nunc pro tune judgment docketed May 18,
2017.


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        Before me is plaintiffs petition for writ of mandamus and request for emergency stay.

Plaintiff seeks ( 1) an emergency stay of the sheriffs sale and (2) an order directing the

Deschutes County Circuit Court to vacate its judgment of foreclosure. Plaintiff argues that the

foreclosing lender failed to produce sufficient proof that it had standing to foreclose, and that the

Deschutes County Circuit Court therefore lacked jurisdiction to enter judgment. Plaintiff further

contends that the six judges named as defendants in this action conspired to deny her due

process, in violation of the United States Constitution. 2

       This case was assigned to Magistrate Judge Russo. Judge Russo construed the request

for an emergency stay as a motion for a temporary restraining order ("TRO") under Federal Rule

of Civil Procedure 65, and referred the matter to me. For the reasons set fo11h below, the motion

for a TRO is denied and this action is dismissed for lack of subject matter jurisdiction.

       The same general legal standards govem temporary restraining orders and preliminary

injunctions. Fed. R. Civ. P. 65; New lvfotor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S.

1345, 1347 n.2 (1977). A plaintiff seeking such relief must establish (1) a likelihood of success

on the merits; (2) a likelihood of ineparable harm in the absence of preliminary relief; (3) the

balance of equities tips in the her favor; and (4) a preliminary injunction is in the public interest.

Winter v. Nat'! Resources Def Council, 555 U.S. 7, 20 (2008).




       2
          Plaintiff actually cites 18 U.S.C. § 241, a criminal statute prohibiting conspiracy "to
injure, oppress, threaten, or intimidate any person in any State . . . in the free exercise or
enjoyment of any right or privilege secured ... by the Constitution or laws of the United
States[.]" Federal prosecutors have the sole authority to prosecute the violation of federal
criminal law. United States v. Batchelder, 442 U.S. 114, 124 (1979). However, because plaintiff
is prose, I have construed her petition as alleging violations of her Fou1teenth Amendment right
not to be deprived of her property without due process of law. See Hebbe v. Pliler, 627 F.3d
338, 342 (9th Cir. 2010) (stating that courts have an obligation, "pmticularly in civil rights cases,
to construe the pleadings liberally and to afford the petitioner the benefit of any doubt").


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       I am bound to deny plaintiffs request for a TRO because she cannot show that she is

likely to succeed on the merits of her petition. Plaintiff asks this Comi to issue an order

"requiring the [Deschutes County Circuit] Comi to vacate the void general judgment of

foreclosure and all supplemental judgements rendered without jurisdiction to do so." Verified

Pet. Writ Mandamus & Emergency Stay 13. That relief would "eviscerate the state court's

judgment," in violation of the Rooker-Feldman doctrine.

       Rooker-Feldman

       is a powerful doctrine that prevents federal cou1is from second-guessing state comi
       decisions by barring the lower federal courts from hearing de facto appeals from
       state-comi judgments: If claims raised in the federal action are 'inextricably
       intertwined' with the state comi's decision such that the adjudication of the federal
       claims would undercut the state ruling or require the district court to interpret the
       application of state laws or procedural rules, then the federal complaint must be
       dismissed for lack of subject matter jurisdiction.

Bianchi v. Rylaarsdam, 334 F.3d 895, 898 (9th Cir. 2003). "Rooker-Feldman bars any suit that

seeks to disrupt or undo a prior state-court judgment, regardless of whether the state-comi

proceeding afforded the federal-court plaintiff a full and fair oppo1iunity to litigate her claims."

Id. at 901 (internal quotation marks omitted). Put simply, this Court lacks authority to give

plaintiff the relief she seeks. If plaintiff wants to mount a federal-court challenge to the state

comis' foreclosure judgment, she must do so by petitioning the United States Supreme Court.

See 28 U.S.C. § 1257 (authorizing United States Supreme Court review of final judgments or

decrees rendered by "the highest court of a State in which a decision could be had").

       A federal comi "ha[s] an ongoing obligation to be sure that jurisdiction exists," Atfatheson

v. Progressive Specialty Ins. Co., 319 F.3d 1089, 1090 (9th Cir. 2003), and must dismiss an

action if "the comi determines at any time that it lacks subject-matter jurisdiction," Chapman v.

Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 954 (9th Cir. 2011) (quoting Fed. R. Civ. P. 12(h)(3)).




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Because it is apparent from the face of the complaint that this Court lacks subject matter

jurisdiction over plaintiffs claim, I not only deny the request for a TRO but also dismiss the

action.

                                        CONCLUSION

          For the reasons set fmih above, plaintiffs emergency request for a stay (doc. 1) is

DENIED and this case is DISMISSED.

          It is so ORDERED.

          DATED this 1-\h day of March 2018.




                                           AnnAiken
                                       U.S. District Judge




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